                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION
 UNITED STATES OF AMERICA,                            )
                                                      )
                                 Plaintiff,           )
                                                      )
                       v.                             )       Case No. 4:16-cr-00374-RK
                                                      )
 (2) MEGAN BAILEY,                                    )
                                                      )
                                 Defendant.           )
                                               ORDER
        Now before the Court is Defendant’s motion to vacate the preliminary and final orders of
forfeiture for substitute property. (Doc. 476.) The motion is fully briefed. (Docs. 477, 480, 485.)
This is Defendant’s second motion challenging the orders of forfeiture for substitute property. On
November 12, 2021, the Court denied Defendant’s motion for reconsideration of the preliminary
order of forfeiture for substitute property, finding the Government had satisfied its burden for such
forfeiture under 21 U.S.C. § 853(p). (Doc. 474.) Defendant argues the orders of forfeiture must
be vacated as void since the preliminary order of forfeiture for substitute property was entered
prior to Defendant receiving notice of the Government’s motion for preliminary order of forfeiture.
In short, Defendant argues the Court should grant relief under the All Writs Act, 28 U.S.C. § 1651, 1
given the due process concerns she raises in this case.
        Under the All Writs Act, federal courts are statutorily authorized to “issue all writs
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages and
principles of law.” § 1651(a). The Court is doubtful it has authority under the All Writs Act to
provide the relief Defendant seeks. See United States v. Georgiou, No. 09-88, 2018 WL 9618227,
at *6-7 (E.D. Pa. June 19, 2018), aff’d, 800 F. App’x 136 (3d Cir. 2020) (because defendant could
have appealed order of forfeiture for substitute property, All Writs Act was inapplicable) (denying

        1
          In her motion to vacate, Defendant relies on Federal Rule of Civil Procedure 60 as authority to
vacate the prior orders. (See generally Docs. 476, 477). In her reply, however, Defendant concedes Rule
60 does not apply in criminal cases, as the Government argued in opposing Defendant’s motion. (Doc. 485
at 2.) Instead, in her reply, Defendant argues the Court should vacate the prior orders under authority
granted by the All Writs Act, codified at 28 U.S.C. § 1651(a). Generally, the Court need not consider
arguments raised for the first time in reply. O’Saughnessy v. McClatchy Co., No. 4:13-cv-00492-DGK,
2013 WL 12203246, at *1 n.1 (W.D. Mo. July 17, 2013). Nonetheless, the Court will ex gratia consider
Defendant’s argument for relief under the All Writs Act.



            Case 4:16-cr-00374-RK Document 486 Filed 03/11/22 Page 1 of 3
motion to vacate forfeiture order and order for substitute assets through a writ of audita querela
under authority of the All Writs Act); see also Pa. Bureau of Corr. v. U.S. Marshals Serv., 474
U.S. 34, 43 (1985) (recognizing the All Writs Act is a “residual source of authority to issue writs
that are not otherwise covered by statute”).
        Moreover, even if the Court did have the authority broadly to grant the relief Defendant
seeks under the All Writs Act, the Court would not exercise its discretion to do so. See also Liles
v. Del Campo, 350 F.3d 742, 746 (8th Cir. 2003) (reviewing for an abuse of discretion district
court’s injunction order issued under authority of the All Writs Act). Ultimately, Defendant argues
her procedural due process rights were violated when the Government’s motion for a preliminary
order of forfeiture for substitute property was granted before she received notice of the motion
being filed and thus did not have an opportunity to respond.
        In her plea agreement in the underlying criminal case, however, Defendant agreed
explicitly to the forfeiture of
        any asset that is subject to forfeiture to the United States either directly or as a
        substitute for property that was subject to forfeiture but is no longer available for
        the reasons set forth in 21 U.S.C. § 853(p) . . . including but not limited to judgment
        of at least $250,000. With respect to any asset which the defendant has agreed to
        forfeit, the defendant waives any constitutional challenges in any manner . . . to any
        forfeiture carried out in accordance with this plea agreement on any grounds[.]
(Doc. 140.) Additionally, following the entry of her guilty plea pursuant to the plea agreement,
the Government filed its motion for preliminary order of forfeiture – which Defendant did not
oppose despite having an opportunity to do so – that (1) sought a personal money judgment against
Defendant in the amount of $250,000, and (2) expressly recognized that while no property that
could be forfeited as a substitute asset under 21 U.S.C. § 853(p) had been identified at that time,
the Government may later move under Federal Rule of Criminal Procedure 32.2(e) to seek
forfeiture of such substitute property. The Government did just that after identifying such
substitute assets, and the Court found both in granting the motion and ruling on Defendant’s
motion for reconsideration on the merits that the Government had fully satisfied both the statutory
and Rule 32.2 requirements for forfeiture of these assets in substitution for the $250,000 money
judgment. See also Fed. R. Crim. P. 32.2(e)(1)(A) & (2)(A) (“On the government’s motion, the
court may at any time enter an order of forfeiture . . . to include property that . . . is substitute
property that qualifies for forfeiture under an applicable statute” and “[i]f the government shows



                                                  2

          Case 4:16-cr-00374-RK Document 486 Filed 03/11/22 Page 2 of 3
that the property is subject to forfeiture . . . the court must . . . enter an order forfeiting that
property[.])
       Defendant’s motion to vacate (Doc. 476) is DENIED.
       IT IS SO ORDERED.


                                              s/ Roseann A. Ketchmark
                                              ROSEANN A. KETCHMARK, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: March 11, 2022




                                                 3

          Case 4:16-cr-00374-RK Document 486 Filed 03/11/22 Page 3 of 3
